Case 1:19-cv-01167-RLY-TAB Document 18 Filed 09/28/21 Page 1 of 8 PageID #: 200




                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND              No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION               MDL No. 2570
 ___________________________________________

 This Document Relates to the Following Cases:

 Shirley A. Parton, 1:18-cv-03371
 Teresa Sykes, 1:19-cv-01167
 ___________________________________________


     ENTRY ON THE COOK DEFENDANTS' MOTION FOR JUDGMENT ON THE
            PLEADINGS AS TO CERTAIN NO-INJURY PLAINTIFFS
          (CONVERTED TO A MOTION FOR SUMMARY JUDGMENT)

        On July 20, 2020, the Cook Defendants1 filed a Motion for Judgment on the

 Pleadings on Counts I-IV of the Master Complaint based on Plaintiffs' categorization of

 their product liability claims as "non-symptomatic" in their original Case Categorization

 Forms ("CCFs"). At Plaintiffs' request, the court converted the motion to one for

 summary judgment. The primary issue is whether an asymptomatic perforation of the

 inferior vena cava ("IVC") is a legally cognizable injury under Kentucky and Texas law.

 The court, having read and reviewed the parties' submissions, the designated evidence,

 and the applicable law, now GRANTS the Cook Defendants' motion for summary

 judgment.



 1
   The Cook Defendants are: Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical
 Incorporated), and William Cook Europe APS.
                                             1
Case 1:19-cv-01167-RLY-TAB Document 18 Filed 09/28/21 Page 2 of 8 PageID #: 201




 I.     Background

        A.      Teresa Sykes

        On August 1, 2013, Sykes' physician implanted a Cook Celect IVC filter in Sykes'

 infrarenal IVC at St. Luke's Woodlands Hospital in The Woodlands, Texas. (Filing No.

 19436-1, Implant Records). A post-placement venogram demonstrated proper placement

 of the IVC filter. (Id.). On January 24, 2019, Sykes underwent a CT scan of her

 abdomen and pelvis. (Filing No. 19436-2, Supp. CCF). The CT scan showed that 4

 struts had perforated her IVC, with prongs extending up to 8.01 mm beyond her caval

 wall. (Id.).

        Since mid-2019, Sykes has experienced constant, excruciating abdominal pain.

 (Filing No. 19435-3, Decl. of Teresa Sykes ("Sykes Decl."), ¶ 6). Tests performed at

 various hospitals ruled out gallbladder issues as the cause of her pain. (Id., ¶ 7).

        B.      Shirley Parton

        On April 2, 2012, Parton's physician implanted a Cook Günter Tulip IVC filter in

 Parton's IVC at the University of Kentucky Chandler Medical Center in Lexington,

 Kentucky. (Filing No. 19436-3, Implant Records). The filter was deployed in good

 position, without asymmetry or tilting. (Id.). On February 6, 2018, Parton underwent a

 CT scan of her abdomen and pelvis. (Filing No. 19436-4, Supp. CCF). It showed that a

 prong of her IVC filter had perforated her caval wall by 4.2 mm. (Id.).

        C.      Dr. Muehrcke

        In support of their product liability claims, Plaintiffs submit the declaration of Dr.

 Derek Muehrcke, a cardiothoracic surgeon. (Filing No. 19435-1, Declaration of Derek

                                               2
Case 1:19-cv-01167-RLY-TAB Document 18 Filed 09/28/21 Page 3 of 8 PageID #: 202




 Muehrcke). He was asked to provide his medical opinion as to whether a perforation by

 a Cook Gunther Tulip or Celect IVC filter through the IVC, by at least 3 mm but without

 interaction with other retroperitoneal structures, constitutes harm or injury to the IVC.

 (Id., ¶ 3). He concluded that it does. Dr. Muehrcke explained that "[p]uncture of the IVC

 wall by an IVC filter leads to bleeding, activation of the clotting cascade, fibroblast

 activation, and scar formation." (Id., ¶ 5). In this way, the body "immediately acts to

 heal the [perforation]." (Id.).

         Dr. Muehrcke also testified that perforation "can" lead to active bleeding if the

 patient is on blood thinners (anticoagulants), and it "can" lead to active clot in the IVC

 that "can" cause thrombosis. (Id.). "Perforation can also progress to interact with

 surrounding structures (aorta, lumbar spine, psoas muscle, duodenum, and ureter)." (Id.,

 ¶ 7).

         Cook countered with Dr. Muehrcke's deposition testimony from the McDermitt

 case. There, Dr. Muehrcke testified that perforation causes endothelialization. (Filing

 No. 19558, Deposition of Dr. Muehrcke ("Muehrcke Dep.") at 184). In Dr. Muehrcke's

 opinion, this inflammatory response with the intima of the IVC is an "injury" even

 though "[y]ou may have no symptoms at all." (Id. at 269). But he also acknowledged

 that inflammation is an expected consequence of inserting an IVC filter in the vena cava

 and that inflammation is part of the mechanism by which a filter remains in place. (Id. at

 194 ("I think all – all devices will have intimal endothelialization. . . [P]erforation is a

 little greater extent of that, but all IVC filters will have an inflammatory response with

 the intima of the inferior vena cava."); id. at 195 ("Q: [Inflammation] is part of how [IVC

                                                3
Case 1:19-cv-01167-RLY-TAB Document 18 Filed 09/28/21 Page 4 of 8 PageID #: 203




 filters] stay in place, correct? A: Yes.")). When asked whether he believed that a patient

 was "injured" every time an IVC filter is placed, he responded: "Every time you put an

 IV[C] in a patient, they have an injury." (Id. at 262).

        Notably, Dr. Muehrcke agrees that "perforations can be asymptomatic" and that

 such patients "don't always suffer a detrimental or clinical effect." (Id. at 257-58).

 II.    Discussion

        This motion addresses the following claims: Strict Products Liability – Failure to

 Warn; Strict Products Liability – Design Defect; Negligence; and Negligence Per Se.

 The issue raised is whether an asymptomatic perforation of the IVC by an IVC filter is a

 legally cognizable injury. The parties agree that Texas law applies to Sykes' claims and

 Kentucky law applies to Parton's claims. There are no cases from either Kentucky or

 Texas—or any other state or federal jurisdiction—that are directly on point.

        Under Kentucky law, "a cause of action in tort requires a present physical injury to

 the plaintiff." Wood v. Wyeth-Ayerst Labs. Div. of Am. Home Prods., 82 S.W.3d 849,

 852 (Ky. 2002). Under Texas law, a plaintiff must "demonstrate 'actual injury' to pursue

 a claim." Martin v. Home Depot U.S.A., Inc., 369 F.Supp.2d 887, 890 (W.D. Tex. 2005);

 Rivera v. Wyeth–Ayerst Labs., 283 F.3d 315 (5th Cir.2002) (dismissing the plaintiffs'

 product liability lawsuit because the plaintiffs alleged no injury in fact).

        Both Kentucky and Texas follow the Restatement (Second) of Torts. James v.

 Bell Helicopter Co., 715 F.2d 166, 170 (5th Cir. 1983) (applying Texas law); Wood v.

 Wyeth-Ayerst Labs. Div. of Am. Home Prods., 82 S.W.3d 849, 854-55 (Ky. 2002). Under

 the Restatement (Second) of Torts, a cause of action for products liability, regardless of

                                                4
Case 1:19-cv-01167-RLY-TAB Document 18 Filed 09/28/21 Page 5 of 8 PageID #: 204




 whether it sounds in negligence or strict liability, requires "physical harm." Restatement

 (Second) of Torts §§ 388, 402A(1) (1965). To qualify as "physical harm," there must be

 a "physical impairment of the human body." Restatement (Second) of Torts § 7(2), (3).

 Kentucky and Texas also follow the Restatement (Third) of Torts. See Morris Aviation,

 LLC v. Diamond Aircraft Indus., Inc., 536 Fed. Appx. 558, 568 (6th Cir. 2013); Anthony

 v. Sunbeam Prods., Inc., No. 1:18-cv-607, 2020 WL 4677429, at *4 (E.D. Tex. May 5,

 2020). Section 4, comment c of the Restatement (Third) of Torts explains that "any level

 of physical impairment is sufficient for liability; no minimum amount of physical harm is

 required." Restatement (Third) of Torts: Liability for Physical and Emotional Harm § 4

 cmt. c. To qualify as an "impairment," the change in the condition of the plaintiff's body

 "must be detrimental." Id., reporter's note, cmt. c.

        Here, neither Sykes nor Parton have brought forth evidence showing that their

 asymptomatic perforations have caused any present physical impairment or detriment to

 their health. True, as Dr. Muehrcke testified, there is a chance that the "clotting cascade

 can lead to active clot in the IVC" and that "scarring to heal the damage caused by the

 IVC filter can make subsequent removal of the IVC filter more difficult." (Muehrcke

 Decl. ¶¶ 5-6). But there is no evidence that either Sykes or Parton has an active clot that

 is presently impairing the function of their IVCs, evidence of unsuccessful removal

 attempts that have caused them physical harm, or evidence that their perforations have

 affected their daily lives in any practical, functional way. See Sondag v. Pneumo Abex

 Corp., 55 N.E.3d 1259, 1264 (Ill. Ct. App. 2016) (holding plaintiff, who had pleural

 plaques and interstitial fibrosis but no noticeable respiratory symptoms, failed to establish

                                               5
Case 1:19-cv-01167-RLY-TAB Document 18 Filed 09/28/21 Page 6 of 8 PageID #: 205




 "physical harm," noting "we do not see how these conditions have affected him in any

 practical, functional way"). Indeed, Parton acknowledges her perforation is "without any

 other sequelae" and that she "is not presently experiencing symptoms." (Filing No.

 19434, Pl.'s Resp. at 11). And although Sykes maintains she has experienced constant

 abdominal pain since mid-2019, she never claims she subjectively believes the pain is

 related to her filter, let alone that any qualified medical expert has suggested a

 connection. (See generally, Sykes Decl.). Even Dr. Muehrcke acknowledges that

 perforation does not always cause symptoms and that asymptomatic patients do not

 always suffer a detrimental or clinical effect. (Muehrcke Dep. at 257-58).

        The second issue the court must address is whether Texas law allows Sykes to

 recover damages for perforation-related harms that may develop in the future. See

 Pustejovsky v. Rapid Am. Corp., 35 S.W.3d 643, 652 (Tex. 2000) ("It is our long-

 established rule that a plaintiff may recover for a disease that may develop in future years

 only if the person establishes that there is a reasonable medical probability that the

 disease will appear."). Sykes argues that because she has adduced evidence that

 perforation is progressive over time, which carries the risk of "impacting other organs in

 the body," her product liability claims survive.

        The issue in Pustejovsky was whether a plaintiff who had already developed an

 asbestos-related disease (asbestosis) was barred by the single-action rule from recovering

 for the subsequent development of another latent asbestos-related disease

 (mesothelioma). Id. at 644, 652. The Texas Supreme Court held he was not barred from

 bringing the action in part because, to recover for damages that may develop in the

                                               6
Case 1:19-cv-01167-RLY-TAB Document 18 Filed 09/28/21 Page 7 of 8 PageID #: 206




 future, a plaintiff must demonstrate a greater than fifty percent chance of developing the

 disease in the future. Id. at 652. The Court found that, "[a]s with many similarly situated

 asbestosis sufferers," it was unlikely2 plaintiff could have produced such evidence in his

 first suit that would have allowed him to recover for the future risk of cancer. Id.

        Pustejovsky is inapplicable to Sykes' claims. Unlike the plaintiff in Pustejovsky,

 Sykes is asymptomatic; she has not been diagnosed with a disease. Moreover, the Texas

 Supreme Court limited Pustejovsky's holding "to asbestos-related diseases resulting from

 workplace exposure." Id. at 653. But even if Pustejovsky did apply, Sykes has not

 presented evidence that she has a greater than fifty percent chance of developing a filter-

 related injury in the future. Dr. Muehrcke speaks in terms of conditions that "can"

 happen from a filter perforation but stops short of opining that such "injuries" are more

 likely than not to occur in the future.

        Lastly, the single-action rule provides a strong policy reason in support of the

 court's decision. If Plaintiffs were to prevail, their damages would likely be minimal. A

 judgment for or against Plaintiffs would foreclose a subsequent lawsuit based on their

 filters. Thus, allowing suit for asymptomatic perforation would preclude Plaintiffs—in

 the event a substantial filter-related injury developed—from recovering any damages.

 III.   Conclusion

        For the reasons set forth above, the court finds Plaintiffs have failed to raise a

 genuine issue of material fact that the injury they claim—asymptomatic perforation—


 2
  Plaintiff's expert testified that approximately fifteen percent of asbestosis patients develop
 mesothelioma. 35 S.W.3d at 646.
                                                   7
Case 1:19-cv-01167-RLY-TAB Document 18 Filed 09/28/21 Page 8 of 8 PageID #: 207




 constitutes a present physical harm. Therefore, the Cook Defendants' Motion for

 Judgment on the Pleadings as to Certain No-Injury Plaintiffs (converted to a Motion for

 Summary Judgment) (Filing No. 13728) is GRANTED and Counts I-IV of Plaintiffs'

 Complaints are dismissed. In the event Plaintiffs suffer physical harm in the future, they

 may refile their cases, to the extent the applicable law allows, in the Southern District of

 Indiana. Counts V (breach of express warranty), VI (breach of implied warranty), VII

 (consumer fraud), and XI (punitive damages) of Plaintiffs' Complaints remain.



 SO ORDERED this 28th day of September 2021.



                                                   s/RLY




 Distributed Electronically to Registered Counsel of Record.




                                               8
